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Attormeys for Plaintiff
MICHAEL BATEMAN

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

MICHAEL BATEMAN, individually | Case No. CV 07-00171 JHN AJWx
and on behalf of other persons
similarly situated, CLASS ACTION

Plaintiffs,

NOTICE OF APPEAL;
Vs. REPRESENTATION STATEMENT

AMERICAN MULTI-CINEMA, INC.;
and DOES 1-10.

Defendants.

 

 

Notice is hereby given that Michael Bateman, plaintiff in the above named case,
hereby appeals to the United States Court of Appeal for the Ninth Circuit from the Order -
Granting in Part Plaintiff's Motion for Attorney’s fees entered in this action on October

11, 2011 (true and correct copy attached hereto as Exhibit 1).

Dated: November 8, 2011 KARASIK LAW FIRM

By  /s/ Gregory N. Karasik
Gregory N. Karasik
Attorneys for Plaintiff

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NOTICE OF APPEAL

 

 

 
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REPRESENTATION STATEMENT

Plaintiff/Appellant Michael Bateman

Defendant/Appellee American Multi-Cinema, Inc.

Counsel for Plaintiff/Appellant

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NOTICE OF APPEAL

 

 

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EXHIBIT 1
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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL

 

 

 

 

 

Case:No... 2:07-cv-00171-JHN-AJWx Date . October 11, 2011
Title _ Bateman v. American Multi-Cinema, Inc.
‘Present: The ——=——~—Ss« ACQUELINE H. NGUYEN
Honorable
Alicia Mamer Not Reported N/A
Deputy Clerk Court Reporter / Recorder Tape No.
Attorneys Present for Plaintiffs: Attorneys Present for Defendants:
Not present Not present

Proceedings: ORDER GRANTING IN PART PLAINTIFF’S MOTION FOR
ATTORNEY’S FEES (In Chambers)

I. INTRODUCTION

This matter is before the Court on Plaintiff's Motion for Award of Attorney’s Fees,
Costs, and Enhancement Payment, filed on June 27, 2011. (Docket no. 88.) The Court
has considered the pleadings and materials submitted in this matter, and for the reasons
contained herein GRANTS IN PART and DENIES IN PART Plaintiffs motion.

Il. FACTUAL BACKGROUND

Plaintiff brought this action for violations of the Fair and Accurate Credit Transactions
Act (““FACTA”) on January 5, 2007. The Court approved a preliminary settlement on
March 22, 2011. (Docket no. 85.)

The preliminary settlement requires Defendant to distribute 282,314 voucher packets at
specified movie theaters. (PI.’s Mot. 2.) Defendant will distribute all vouchers until they
run out. (See id.) The packets contain four vouchers that can each be redeemed for a
small popcorn. The current retail price of a small bag of popcorn is $5.75, and each
voucher packet thus has a current retail value of $23.00. Ud.) The total current retail
value of the settlement is $6,493,222. Ud.)

TH. LEGAL STANDARD

“Attorney’s fees provisions included in proposed class action settlement agreements are,

like every other aspect of such agreements, subject to the determination whether the
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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

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Case'No. 2:07-cv-00171-JHN-AJWx Date . October 11, 2011

 

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settlement is fundamentally fair, adequate, and reasonable.” Staton v. Boeing Co., 327
F.3d 938, 963 (9th Cir. 2003). “A district court must carefully assess the reasonableness
of a fee amount spelled out in a class action settlement agreement.” Jd.

IV. DISCUSSION

Under FACTA, the prevailing party is entitled to “reasonable attorney’s fees as
determined by the court.” 15 U.S.C. § 1681(n). The parties also stipulate that this class
action is subject to the Class Action Fairness Act (“CAFA”). (Docket no. 98.) Under
CAFA, courts can calculate attorneys fees under either a percentage method or the
lodestar method. See 28 U.S.C. § 1712(aHb).

A. The Preliminary Settlement Is a Coupon Settlement, Not a Common Fund
Settlement

Plaintiff argues that this is not a coupon settlement, whereas Defendant argues that it is a
coupon settlement. CAFA does not define the terms “coupon” or “coupon settlement.”
See 28 U.S.C. § 1711, et seg. However, the legislative history suggests that voucher-
based settlements should be analyzed as coupon settlements. See 109 S. Rpt. 14 (2005);
Fleury v. Richemont N. Am., Inc., No. C-05-4525 EMC, 2008 U.S. Dist. LEXIS 112459,
at *10—*11 (N.D. Cal. August 6, 2008). Several cases creating a voucher-based
settlement were cited in the Senate Judiciary Committee report. See 109 S. Rpt. 14
(2005).

Under “regular common fund procedures, the parties settle for the total amount of the
common fund and shift the fund to the court’s supervision.” Staton v. Boeing Co., 327
F.3d 938, 969 (9th Cir. 2003); see also Strong v. Bell S. Telecomms., Inc., 137 F.3d 844,
852 (Sth Cir. 1998) (concluding the case was not a common fund case because no money
was paid into escrow or another account).

Here, Plaintiff argues that this is not a coupon settlement because class members are not
required to spend money to realize the settlement benefit. Although Plaintiff is correct
that class members do not have to spend money to obtain free popcorn through the
settlement, a substantial majority of class members would have to purchase a movie ticket
before obtaining their voucher. Thus, it is consistent with the intent of the legislature, as

 

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

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reflected in the Senate Report, to treat this as a coupon settlement.

Moreover, the settlement agreement is distinguishable from a common fund settlement
because it involves no cash payments distributed from an aggregate settlement. Given
that no common fund was created, this settlement is more similar to a coupon settlement.
Thus, the Court will analyze this matter as a coupon settlement under CAFA.

B. Calculating Attorney’s Fees in a Coupon Settlement

CAFA “specifies the methods for calculating attorneys’ fees in class settlements in which
coupons constitute all or part of the relief afforded to claimants.” 109 S. Rpt. 14 (2005).
CAFA provides for attorney’s fees calculated either as a percentage of the recovery or
based on a lodestar calculation. 28 U.S.C. § 1712(a)-(b). Thus, under CAFA, attorney’s
fees in a coupon settlement are limited to either a percentage-based fee or a lodestar
calculation. See 28 U.S.C. § 1712(a). Here, the Court believes it is appropriate to use the
lodestar calculation because the result is more commensurate with the value of the
coupons to the putative class members.' See 20 U.S.C. § 1712(a).

C. Calculating Attorney’s Fees Using the Lodestar

In a lodestar calculation, the court multiplies the hours billed by counsel by the prevailing
market rate in the relevant community. Perdue v. Kenny A., 1308S. Ct. 1662, 1672
(2010). “There is a strong presumption that the lodestar is sufficient.” Jd. at 1669.
Adjustments are allowed in rare or exceptional circumstances. Jd. at 1667-68. Factors
for determining a fee’s reasonableness that are already included in the lodestar include
the novelty and complexity of the matter, special skill or experience of counsel, the
quality of representation, and whether the case was taken on a contingent fee basis. Jd. at
1667; Morales v. City of San Rafael, 96 F.3d 359, 364 n.2 (9th Cir. 1996). A court can
impose a small reduction of ten percent—a haircut—without a more specific explanation.

 

' One objection to Plaintiffs fee request was received from a class member. First,
it is unlikely that the objector is a class member. But even if the Court were to consider
the objection, it is overruled because the overall terms of the settlement are fair, adequate
and reasonable. Moreover, the Court is denying the request for attorney’s fees in the

amount requested by Plaintiff, which is excessive.
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UNITED STATES DISTRICT COURT
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Moreno v. City of Sacramento, 534 F.3d 1106, 1112 (9th Cir. 2008).

Class Counsel argues that based on his lodestar, he should be awarded attorney’s fees of
$301,630. According to Class Counsel, he worked 430.9 hours on this matter. (Karasik
Supp’! Decl. § 2.) Class Counsel has more than twenty years of litigation experience, and
has worked at several law firms in Los Angeles. (/d. J 2.) Class Counsel bills at a rate of
$700/hour for the purposes of a lodestar calculation, consistent with the rate for an
attorney of Class Counsel’s experience on the Laffey Matrix. Ud. 4] 3, 13.) Defendant
contests Plaintiffs hours billed, arguing that 29.6 hours are insufficiently documented.
(Def.’s Opp’n 16.) The Court agrees that these hours were insufficiently documented and
calculates the lodestar figures based on 401.3 hours at a rate of $700/hour, or $280,910.

Class Counsel argues for a multiplier of 4.6 based on the quality of representation, benefit
received, complexity and novelty of the matter, and risk of nonpayment. Despite Class
Counsel’s having negotiated a successful settlement, the factors cited are already
subsumed into the lodestar calculation. The issues in this case are not complex. Further,
while Plaintiff did successfully appeal, the case was stayed during the pendency of the
appeal and, thus, no substantial litigation occurred in the district court prior to settlement.
The Court does not believe that this case presents rare or exceptional circumstances
justifying a multiplier. See Perdue, 130 S. Ct. at 1669. Thus, the Court finds that an
award of $280,910 in attorney’s fees is fair, adequate, and reasonable.”

D. Costs and Enhancement Payment

Plaintiff requests $19,675.65 in costs, and an enhancement payment of $7,500 to named
plaintiff Bateman. Of the costs, $7,500 was for publicizing the settlement on the Top
Class Action website. However, this advertisement was not included in the settlement
agreement. (Def.’s Opp’n 25.) Defendant opposes this charge for costs as it goes beyond

 

> Recently, in another case involving identical issues, Class Counsel sought and the
Court approved $106,000 in attorney’s fees. See Jarchafjian v. American Multi-
Cineman, Inc., et al., 2:09-cv-03434-JHN-AJW. The fees awarded in this case reflects
the fact that Class Counsel here did substantially more work. However, the amount
requested by Class Counsel, over $1.3 million, would be grossly disproportionate both in

terms of the value to the class members and the fees in Jarchafjian.
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UNITED STATES DISTRICT COURT
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the settlement agreement. Since the additional advertising costs were not included in the
settlement, Class Counsel’s request for reimbursement for those ads is denied.

The remainder of the request for costs and an enhancement payment is unopposed. As
the amount requested is reasonable, the Court grants $12,175.65 in costs and a $7,500
enhancement payment to Plaintiff.

V. CONCLUSION
For the foregoing reasons, Plaintiff's request for attorney’s fees is GRANTED IN PART
and DENIED IN PART. Class Counsel is awarded attorney’s fees in the amount of
$$280,910 and costs in the amount of $12,175.65. Plaintiff is awarded a $7,500

enhancement payment.

IT IS SO ORDERED.

N/A

 

Initials of Preparer AM

 

 

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